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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
   v.                          *      CRIM. NO. 20-711
                               *
                               *
MARCUS MORGAN                  *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

       In accordance with Standing Order 2020-06, this Court finds:
   X    That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

The proceeding(s) held on this date may be conducted by:
   X    Video Teleconferencing

        Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

               The Defendant (or the Juvenile) is detained at a facility lacking video

       teleconferencing capability.

               Other:




Date: October 27, 2020                                       s/Susan D. Wigenton
                                                            Hon. Susan D. Wigenton
                                                            United States District Judge
